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                   UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA

UNITED STATES OF AMERICA,              )
                                       )
       Plaintiff,                      )
                                       )     CIVIL ACTION FILE
v.                                     )
                                       )     NO: 1:16-CV-03088-ELR
STATE OF GEORGIA,                      )
                                       )
       Defendant.                      )

     DEFENDANT’S MOTION TO DISMISS, OR IN THE ALTERNATIVE,
                  FOR STAY OF PROCEEDINGS

       Defendant State of Georgia moves to dismiss the Complaint filed by

Plaintiff United States of America, pursuant to Federal Rule of Civil Procedure

12(b)(6).

       As discussed in Defendant’s brief in support of this motion, the Complaint

fails to state a claim upon which relief can be granted because (1) the United States

Department of Justice (“DOJ”) lacks standing to bring claims under Title II of the

Americans with Disabilities Act (“ADA”); (2) the State does not “administer” the

GNETS program and the Complaint fails to allege actionable discrimination;

(3) the Individuals with Disabilities Education Act (“IDEA”) governs the

educational placement of a student with disabilities, and an ADA claim alleging
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actions that are covered under IDEA fails as a matter of law; and (4) “obey-the-

law” injunctions are prohibited in the Eleventh Circuit.

      In the alternative, Defendant moves to stay these proceedings based on a

recent decision by the Southern District of Florida in C.V. v. Dudek, No. 12-

60460-CIV-ZLOCH, 2016 WL 5220059 (S.D. Fla. Sept. 20, 2016). There, the

district court dismissed DOJ’s claim under Title II of the ADA, holding that DOJ

does not have standing to bring such a claim. In Dudek, DOJ has asked the district

court to vacate its previous decision to consolidate its case and enter a final

judgment under Federal Rule of Civil Procedure 54(b), so that DOJ can appeal.

      For these reasons, more thoroughly discussed in Defendant’s brief in support

of this motion, Defendant respectfully requests that the Complaint be dismissed for

failure to state a claim, or in the alternative, that this Court stay these proceedings

until the Eleventh Circuit has decided whether Plaintiff DOJ has standing to bring

a Title II claim under the ADA.




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      This 1st day of November, 2016.




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                         L.R. 7.1(D) CERTIFICATION


      I certify that this brief has been prepared with one of the font and point

selections approved by the Court in Local Rule 5.1(C). Specifically, this brief has

been prepared using 14-pt Times New Roman Font.


                                       /s/ Alexa R. Ross
                                       Alexa R. Ross
                                       Georgia Bar No. 614986
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                             CERTIFICATE OF SERVICE

          I hereby certify that I have this day filed the within and foregoing

DEFENDANT’S MOTION TO DISMISS, OR IN THE ALTERNATIVE,

FOR STAY OF PROCEEDINGS with the Clerk of Court using the CM/ECF

system, which automatically sent counsel of record e-mail notification of such

filing.

          This 1st day of November, 2016.


                                           /s/ Alexa R. Ross
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